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                           UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,

              Plaintiff,                            Case No. 1:15-cr-00023-BLW

       v.                                           ORDER ADOPTING REPORT
                                                    AND RECOMMENDATION
Keifer Wayne Grubbs,

              Defendant.



       Before the Court is a Report and Recommendation filed by the United States

Magistrate Judge. (Dkt. 111). On June 9, 2015, Defendant Keifer Wayne Grubbs

appeared before the Magistrate Judge to enter a change of plea (pursuant to a written plea

agreement). The Magistrate Judge conducted the plea hearing and concluded there is a

factual basis for Defendant’s plea of guilty to the charges contained in Count one of the

Amended Superseding Information (Dkt. 108), and that it was entered voluntarily and

with full knowledge of the consequences. No objections to the Report and

Recommendation have been filed.

       The Court now has reviewed the record, and finds that the requirements of Rule 11

have been met. See United States v. Reyna-Tapia, 328 F.3d 1114 (9th Cir. 2003).

Specifically, the Court finds that the Magistrate Judge adhered to the requirements of

Rule 11(b); that under Rule 11(b)(2), the Defendant’s plea was voluntary and not the

result of force or threats or promises apart from the plea agreement; and that a factual

basis for the plea exists. See id. Accordingly,


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       NOW THEREFORE IT IS HEREBY ORDERED that the Report and

Recommendation (Dkt. 111) shall be, and the same is hereby, ADOPTED as the decision

of the District Court and incorporated fully herein by reference.

       IT IS FURTHER ORDERED that the Defendant’s plea of guilty to the crimes

charged in Counts one and two of the Amended Superseding Information (Dkt. 108),

shall be, and the same is hereby, ACCEPTED by the Court as a knowing and voluntary

plea supported by an independent basis in fact containing each of the essential elements

of the offense.

       IT IS FURTHER ORDERED that Defendant Keifer Wayne Grubbs is found to be

GUILTY as to the applicable crimes charged in the Amended Superseding Information.

(Dkt. 108).

                                   DATED: June 29, 2015



                                   B. LYNN WINMILL
                                   Chief U.S. District Court Judge




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